904 F.2d 702Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Norman TROY, Defendant-Appellant.
    No. 89-6364.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 9, 1990.Decided:  May 24, 1990.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, Chief District Judge.  (CR Nos. 88-31, 88-33, 88-34;  C/A No. 89-379-P).
      Norman Troy, appellant pro se.
      Debra Jo Stuart, Assistant United States Attorney, Charlotte, N.C., for appellee.
      W.D.N.C.
      AFFIRMED.
      Before WIDENER, K.K. HALL and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Norman Troy appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Troy v. United States, CR Nos. 88-31, 88-32, 88-33, 88-34;  C/A No. 89-379-P (W.D.N.C. Nov. 22, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    